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    1                        UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
    2                          CHARLOTTESVILLE DIVISION

    3   ELIZABETH SINES, et al.,
                                                 No. 3:17-cv-72
    4                          Plaintiffs,
                                                Charlottesville, Virginia
    5         vs.                               March 16, 2018
                                                2:03 p.m.
    6   JASON KESSLER, et al.,

    7                           Defendants.

    8                TRANSCRIPT OF TELEPHONIC CONFERENCE CALL
                        BEFORE THE HONORABLE JOEL C. HOPPE
    9                     UNITED STATES MAGISTRATE JUDGE.

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    8   **********************************************************

    9          (Call to Order of the Court at 2:03 p.m.)

  10                THE COURT:     Hi.    This is Joel Hoppe.

  11                Thank you-all for calling in for the scheduling

  12    conference in Sines versus Kessler.

  13                Now, this matter is on the record.            And I imagine

  14    we have a number of parties and attorneys for the parties

  15    who have called in, but there may also be some third

  16    parties who have called in as well, as this is a public

  17    matter.

  18                Now, first off, I would like to find out who is

  19    on the line for the plaintiffs.

  20                MR. ROTTENBORN:       Good afternoon, Your Honor.

  21    This is Ben Rottenborn, from WoodsRogers.

  22                On the line with me this afternoon is Roberta

  23    Kaplan, from Kaplan & Company; Karen Dunn and Philip

  24    Bowman, from Boies Schiller; and Alan Levine and David

  25    Mills, from Cooley.
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    1               THE COURT:     All right.      And, Mr. Rottenborn, who

    2   is going to be speaking on behalf of the plaintiffs?

    3               MR. ROTTENBORN:        I will let my co-counsel answer

    4   who is going to take the lead on most of those.                It won't

    5   be me this afternoon.

    6               MS. KAPLAN:     Your Honor, this is Roberta Kaplan.

    7   I think I will be addressing most of the issues, although

    8   it is certainly possible that either Ms. Dunn or

    9   Mr. Levine could chime in on certain matters.

  10                THE COURT:     Okay.     And this -- what I'm going to

  11    ask will go for everybody, but because this is being

  12    recorded and to make an accurate record, I would ask that

  13    you state your name or identify yourself before you

  14    -- before you speak.        And I'll try and remember to remind

  15    you when you forget.

  16                MR. ROTTENBORN:        Will do.     Thank you, Your Honor.

  17                THE COURT:     All right.

  18                Now, for the defendants, Mr. Woodard, is that

  19    you.

  20                MR. WOODARD:      Hi, Judge.       How are you?

  21                THE COURT:     All right.      Good afternoon.      And you

  22    are representing a number of the defendants in this case.

  23    And do you have anybody else with you?

  24                MR. WOODARD:      Yes, sir.       Mr. Kolenich -- Albert

  25    Woodard.     Mr. Kolenich should be somewhere on the phone.
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    1   Is he --

    2               MR. KOLENICH:      Yes.     This is Mr. Kolenich.       I'm

    3   here.

    4               MR. WOODARD:      There we are.      He'll be carrying

    5   the ball for us, Judge.

    6               THE COURT:     All right.

    7               And, Mr. Spencer, are you on the line?

    8               MR. SPENCER:      Yes, I am.     Good afternoon, Your

    9   Honor.

  10                THE COURT:     All right.      Good afternoon.

  11                And how about for Mr. Fields?

  12                MR. CAMPBELL:      Good afternoon, Your Honor.          This

  13    is David Campbell on behalf of Mr. Fields.

  14                THE COURT:     Let's see.      How about for -- well,

  15    Mr. Jones, are you on the phone?

  16                MR. JONES:     Yes, I am.

  17                THE COURT:     All right.      You also represent a

  18    number of defendants in this case.

  19                MR. JONES:     That's correct.

  20                THE COURT:     All right.      Are there any other

  21    parties or attorneys for a party on the phone.

  22                MR. PEINOVICH:      Yes, Your Honor, this is Michael

  23    Peinovich, pro se, here.

  24                THE COURT:     Okay.      Mr. Peinovich -- sorry --

  25                MR. PEINOVICH:      No problem.
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    1               THE COURT:     -- is here.

    2               Anyone else?

    3         (No response.)

    4               THE COURT:     All right.      Well, where I would like

    5   to start is by addressing the case schedule.               Now, there

    6   are a number of motions that are related to the case

    7   schedule.     And I -- I have read the filings in those.               It

    8   is the motion to prevent Mr. Peinovich from recording the

    9   26(f) conference with plaintiffs' counsel, there are two

  10    motions to stay discovery, and then there's also a

  11    recently filed motion to show cause that was filed by the

  12    plaintiffs that relates to some concerns about spoliation

  13    of evidence.

  14                Now, I do want to address a little later on the

  15    recording and then the stays of discovery.               And as for the

  16    concerns about the spoliation, I would like to hear what

  17    counsel's thoughts are as far as the ESI protocol and any

  18    document preservation order and any other interim steps

  19    that might be necessary to make sure that evidence is

  20    preserved for use in the case.           But I don't intend to get

  21    into that show cause motion beyond those issues, because

  22    it really was just filed.          And I think that a lot of the

  23    other issues would just need to be briefed and then allow

  24    time to fully address those.

  25                Now, as to -- as to the case schedule, there is
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    1   essentially one 26(f) report that has been submitted and

    2   there are a number of proposed changes to the schedule.

    3               Ms. Kaplan, do you want to update me on any

    4   scheduling discussions that you have had with the

    5   defendants or any other suggestions as to the deadlines?

    6               MS. KAPLAN:     Your Honor, we -- you know, we have

    7   an agreement with the defendants as to how far away from

    8   the trial date certain things should happen in the case.

    9   I think we have reached agreement on those issues.                 So

  10    everything really comes down to the trial date.

  11                We were thinking earlier today that perhaps we

  12    could wait until May to set the trial date, in large part

  13    because we have kind of gotten such a slow start in terms

  14    of document production.         But if Your Honor wants to set a

  15    trial date today, we're obviously amenable to that as

  16    well.

  17                THE COURT:     How long do you think the trial would

  18    be in this case?       Just give me an estimate.

  19                MS. KAPLAN:     I think two weeks, maybe three, Your

  20    Honor.

  21                THE COURT:     All right.      And, Mr. Kolenich, do you

  22    think it would be two to three weeks as well?               Or

  23    Mr. Woodard?

  24            (Pause.)

  25                MR. WOODARD:      I would advert that it -- I think
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    1   it is going to be longer, Judge.            That's my crystal ball

    2   at work right now, obviously.

    3               THE COURT:     Well, perhaps -- let me ask you this,

    4   Ms. Kaplan:      Have initial disclosures been made by all of

    5   the parties at this point?

    6               MS. KAPLAN:     All but defendant Spencer and the

    7   parties that haven't appeared in the case yet, Your Honor.

    8               THE COURT:     And as to the parties who haven't

    9   appeared in the case, is there anyone who default has not

  10    been entered?      I know the -- the --

  11                MS. KAPLAN:     Yes, Your Honor --

  12                THE COURT:     Go ahead.

  13                MS. KAPLAN:     Yes, Your Honor.        I believe that as

  14    to the non-appearing defendants, I believe they are all

  15    covered by the default judgment.

  16                THE COURT:     All right.      So it just remains with

  17    Mr. Spencer to make the initial disclosures.

  18                MR. SPENCER:      I will -- Your Honor, this is

  19    Richard Spencer.

  20                I will be sending a motion, a joinder to Mike

  21    Peinovich's motion to stay discovery.

  22                MR. PEINOVICH:      Richard, this is not about that.

  23    This is about the initial disclosure under the Rule 26,

  24    which is where you indicate, like, the kind of thing that

  25    you intend to bring forward as evidence should this -- in
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    1   the unlikely event this goes to trial.              So -- yeah, you

    2   should -- you have do that.          But, you know, we can discuss

    3   it.

    4               THE COURT:     All right.      Why don't we -- why don't

    5   you-all save that conversation for after this conference

    6   call.

    7               But, Mr. Spencer, I understand that you want to

    8   join the motion to stay.

    9               Ms. Kaplan, I know you, in your 26(f) report

  10    concerning Mr. Spencer, had indicated that you would want

  11    those disclosures to be made, I guess, to and from

  12    Mr. Spencer within 14 days.          And I think that's a -- you

  13    know, a reasonable period.          And so what I will do is after

  14    this conference call I will enter an order that will set

  15    the deadline for making the initial disclosures as 14 days

  16    from the entry of the order.

  17                MS. KAPLAN:     That's fine, Your Honor.          Thank you.

  18                THE COURT:     All right.      Now, as far as the -- I

  19    think -- if it -- since you-all already have the initial

  20    disclosures for the most part, I guess that's not the -- I

  21    guess there's the difficulty in figuring out what the

  22    scope of the case is or how long it might take to try, but

  23    you would want to wait until after the motion to dismiss

  24    hearing to, you know, see what the posture of the case is

  25    before setting a trial date, Ms. Kaplan, but --
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    1               MS. KAPLAN:      Your Honor, it is not so much what

    2    the Court decides on the motion to dismiss.              We're pretty

    3    confident about that.        The problem that we have is to date

    4    we have not received any written responses to our requests

    5    for documents or our interrogatories from any of the

    6    defendants.     They are all very overdue.          And none of the

    7    defendants have produced a single document to us.                So it

    8    is very hard -- and we need certain things to get even

    9    third-party documents -- consents from certain defendants

   10    to get things from some of the third-party technology

   11    sources.

   12               So without having a better sense of when that

   13    will happen and when we get some cooperation in that

   14    regard, it is very hard to figure out kind of how long it

   15    will take us to complete discovery.

   16               THE COURT:      All right.

   17               All right.      And, Mr. Woodard, would you suggest

   18    holding off until that hearing on the motion to dismiss

   19    before setting a trial date?

   20               MR. WOODARD:      Absolutely.

   21               THE COURT:      All right.     Mr. Campbell?

   22               MR. CAMPBELL:       Yes, I would, Your Honor.

   23               THE COURT:      All right.     Mr. Jones?

   24               MR. JONES:      Yes, Your Honor, I would too.

   25               THE COURT:      All right.     Mr. Spencer?
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    1                MR. SPENCER:     Yes, Your Honor.

    2                THE COURT:     All right.     And Mr. Peinovich?

    3                MR. PEINOVICH:      Yes, Your Honor.       I completely

    4    agree.

    5                THE COURT:     All right.     Well, then I'll concur in

    6    that.    And we will postpone setting a trial date until

    7    -- until that hearing.         And, you know, it may be that we

    8    can use that date, following the hearing, as a time to

    9    check in on the status of discovery and see where things

   10    stand at that point, how the production of discovery is

   11    going as well.

   12                MS. KAPLAN:     Yes, Your Honor.       Well, obviously, I

   13    assume this is already -- you have this in mind, but once

   14    we discuss the motions for stay, and assuming there will

   15    be no stay of discovery, it would, obviously, be very

   16    helpful to have orders with hard dates for the defendants

   17    to have to respond to our discovery requests, because at

   18    this point, again, they are all overdue from when they

   19    were supposed to have been submitted.

   20                THE COURT:     All right.

   21                MR. PEINOVICH:      May I say something here?

   22                THE COURT:     If you can remember to identify

   23    yourself.

   24                MR. PEINOVICH:      Yes.    This is Michael Peinovich.

   25                I would just like to say, in response to what
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    1    Ms. Kaplan said, that I consider my motion to stay

    2    discovery to be a response to their initial discovery

    3    request.     And I don't think I -- I think until that matter

    4    is settled, I'm not actually overdue on anything.                That's

    5    my opinion.

    6               THE COURT:      I don't know about that.

    7               MR. PEINOVICH:       Okay.

    8               THE COURT:      All right.

    9               MR. PEINOVICH:       Obviously, (inaudible) Your Honor

   10    if I'm mistaken in that, but --

   11               THE COURT:      All right.

   12               And, Mr. Spencer, I know you hadn't joined in the

   13    -- or haven't had a discussion about the 26(f) deadlines,

   14    but have you seen the proposed deadlines that plaintiffs

   15    counsel and then the rest of the defense counsel and

   16    defendants have agreed to?

   17               MR. SPENCER:      Yes.    I have seen those deadlines.

   18               THE COURT:      All right.     Do you have any problems

   19    with those deadlines?

   20               MR. SPENCER:      No.

   21               THE COURT:      All right.     Well, that will be the

   22    -- you know, the rough breakdown of the deadlines in the

   23    case as far as discovery cutoff and expert reports and

   24    things of that nature.

   25               Now, Ms. Kaplan, have you-all had any further
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    1    discussions about the scope of discovery and whether there

    2    would be any limits put on it?           I'm not talking about the

    3    stay of discovery, but as far as, you know, the number of

    4    interrogatories and things like that?

    5                MS. KAPLAN:     Yes.    Your Honor, I'm glad you asked

    6    that.     I don't know that we have had any discussions about

    7    interrogatory limits, but with respect to depositions,

    8    obviously, we believe there needs to be a change to the

    9    ordinary course, since there are 25 defendants in the

   10    case.     Only 20 of those are individuals who we need to

   11    depose.     So we are suggesting 20 party depositions per

   12    side and then another 10 nonparty depositions.

   13                THE COURT:     All right.

   14                All right.     Mr. Woodard or Mr. Kolenich?

   15                MR. WOODARD:     Do you want to take this one?

   16                MR. KOLENICH:      Yeah, I have got it.

   17                Mr. Kolenich, Your Honor.

   18                We are not necessarily not in agreement with

   19    that.     We would just like to consider it.           Ten nonparty

   20    depositions might not be enough, given the huge number of

   21    witnesses that are in the process of being identified in

   22    this case.     But, I mean, certainly some limit is

   23    appropriate.      I just don't know that 10 nonparty witnesses

   24    is something we can agree to right now.

   25                THE COURT:     All right.     Well, that sounds like
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    1    that is probably something that you-all need to discuss

    2    further.     And I think if there are any issues or

    3    disagreements about those numbers, you can -- you can

    4    bring them to my attention, and I'll resolve them.

    5               MS. KAPLAN:      Thank you, Your Honor.         From

    6    Ms. Kaplan.     We will do that.

    7               THE COURT:      And, of course, Mr. Jones and

    8    Peinovich and Spencer and Mr. Campbell, you-all would need

    9    to be involved in those discussions as well.

   10               UNIDENTIFIED VOICE:        Yes, Your Honor.

   11               UNIDENTIFIED VOICE:        Yes, Your Honor.

   12               UNIDENTIFIED VOICE:        Thank you.

   13               UNIDENTIFIED VOICE:        I agree with Mr. Kolenich's

   14    interpretation here.        I think there is a potentially large

   15    amount of people that could be deposed here.               But, you

   16    know, obviously there would have to be a reasonable limit.

   17               THE COURT:      All right.

   18               MR. WOODARD:      Elmer Woodard.       How many plaintiffs

   19    are there?

   20               MS. KAPLAN:      10, I believe.

   21               MR. WOODARD:      Say again, please?

   22               MS. KAPLAN:      I apologize.      For Ms. Kaplan.       I

   23    believe the number is 10.

   24               MR. WOODARD:      Okay.

   25               THE COURT:      All right.
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    1               MR. CAMPBELL:       Your Honor, if I could, briefly.

    2    This is David Campbell.         I would think that, obviously, we

    3    would only need 10 party witness depositions then, but I

    4    would think that we would need significantly more than,

    5    say, 20 nonparty, even as regards to the medical

    6    allegations.      You know, for each plaintiff -- if they are

    7    all together like this, each plaintiff would presumably

    8    have at least one physician.          And that's not counting fact

    9    witnesses.     So I would just carve out -- say, you know,

   10    that we would need to carve out an expert versus fact

   11    witness area as well.

   12               MS. KAPLAN:      Well, Ms. Kaplan, Your Honor --

   13               MR. WOODARD:      Yeah, this is Elmer Woodard.           It

   14    seems like the one thing everybody can agree on, there are

   15    going to be a whole bunch of nonparty depositions.                So why

   16    don't we just solve the problem and say 50?              And if we

   17    need more, then we can always come back and ask.                But, for

   18    God's sake, let us hope we don't need more than 50.                 That

   19    would cover it.       And we can dispose of that issue right

   20    now.

   21               MS. KAPLAN:      For Ms. Kaplan, Your Honor.          I don't

   22    think the plaintiffs would agree to that high of a number.

   23    We are anxious to get to trial.           We think that would delay

   24    discovery for far too long.

   25               UNIDENTIFIED VOICE:        I have a number of
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    1    (inaudible).

    2               THE COURT:      I think what you-all need to do is to

    3    allow discovery to proceed a little bit further and start

    4    really trying to identify who the witnesses -- nonparty

    5    witnesses may be in the case.          And then I think that will

    6    inform your decision more.

    7               And, you know, if it seems like it is getting to

    8    be too many folks, then I would encourage you to consider

    9    whether you need all of those people.             And then if you do

   10    need to involve me in reaching an agreement -- or reaching

   11    a number that is workable, you can do that.

   12               MS. KAPLAN:      For Ms. Kaplan, Your Honor, that

   13    seems like a very reasonable way to proceed.               We agree.

   14               THE COURT:      Okay.

   15               Now, this does tie in -- my next question, this

   16    does tie in somewhat with the motion to stay, in

   17    particular for Mr. Fields, because I know the 26(f) report

   18    there is -- there's a request by the defendants that any

   19    defendant who has a pending criminal charge, that that

   20    person's deposition would be put off until after the

   21    criminal charges are resolved.

   22               Who -- who is affected by that concern, other

   23    than Mr. Fields at this point?

   24               MR. WOODARD:      This is Elmer Woodard.

   25    Mr. Cantwell is affected by that.            And we agree with
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    1    Mr. Campbell.

    2                THE COURT:     Anyone else?

    3            (No response.)

    4                THE COURT:     All right.     Mr. Cantwell --

    5                MR. PEINOVICH:      May I ask a question, Your Honor?

    6    This is Michael Peinovich.

    7                THE COURT:     Sure.

    8                MR. PEINOVICH:      What about potential people that

    9    I would like to depose that are not parties to this suit

   10    that are facing charges?           Like there are a number of

   11    counterprotesters that I would like to depose.               But I

   12    don't know -- I would have to research if they are facing

   13    charges or not.       So how would that be affected here?

   14                THE COURT:     Well, if it is not a party, then it

   15    is -- if the person is not a party and they are facing

   16    charges, then that's not something that I'm going to

   17    factor into the -- into any scheduling decisions.

   18                MR. PEINOVICH:      Okay.    All right.     Thank you very

   19    much.

   20                THE COURT:     And, Mr. Campbell, and perhaps

   21    Mr. Woodard or Mr. Kolenich, just to delve in a little bit

   22    to the motion to stay, what other -- what concerns other

   23    than your clients' depositions are fueling the motion to

   24    stay?     Are there other areas of discovery that you think

   25    could be problematic?
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    1               MR. WOODARD:      This is Elmer Woodard.

    2               Mr. Peinovich probably ought to carry that ball.

    3               MR. CAMPBELL:       Judge, if I could --

    4               THE COURT:      This is Joel Hoppe again.

    5               Mr. Peinovich wasn't raising that, that concern

    6    about the criminal consequences of responding to

    7    discovery.

    8               So, Mr. Campbell, go ahead.

    9               MR. CAMPBELL:       Yes, sir.     Thank you, Your Honor.

   10               Your Honor, in addition to the depositions, I

   11    think any interrogatory that calls for a description or a

   12    statement of the defendants would be problematic as well.

   13    And I would certainly, you know, proffer to the Court that

   14    staying or severing as to Mr. Fields would be an

   15    alternative route, rather than staying the entire case,

   16    because I don't know that anyone disagrees that the issues

   17    are a little different.

   18               Anything that would be describing events -- and

   19    there's also a concern, Judge, of -- on my behalf, for my

   20    client, which may not be a concern for the Court and with

   21    even the plaintiff, as to any -- pleading the Fifth might

   22    be interpreted by an insurance carrier as not cooperating

   23    under the contract, that might affect coverage.                And that

   24    may not be anything that the Court or, frankly, the

   25    plaintiffs are concerned with, but that would certainly be
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    1    a concern of mine.

    2               THE COURT:      All right.     Mr. Campbell, are there

    3    some categories of discovery that you think wouldn't prove

    4    problematic for Mr. Fields?          It sounds like there have

    5    been some discovery responses from Mr. Fields.

    6               MR. CAMPBELL:       I would say, Your Honor, that

    7    producing documents wouldn't necessarily be problematic.

    8    I think any -- you know, in discovery, that expert

    9    defenses and that kind of thing wouldn't necessarily be

   10    problematic.      I think that the concern is all-around Fifth

   11    Amendment privileges of Mr. Fields.            And actually I

   12    shouldn't say that, Your Honor.           There could be some

   13    overlay of expert discovery that might run afoul of the

   14    portion of the brief with concern as to impermissibly

   15    aiding prosecution in the criminal case.

   16               So I could see -- I could think of a category of

   17    expert discovery that might be problematic as well.                 But

   18    in general, it would be statements or descriptions.

   19               THE COURT:      All right.

   20               All right, Mr. Fields --

   21               MR. CAMPBELL:       Yeah, as far as Cantwell is

   22    concerned, yeah, any description of -- it is a little more

   23    nettlesome.     My impression of the complaint is that it

   24    pretty much says Mr. Cantwell allegedly did things on

   25    August 12th.      And to the extent that it -- that I'm
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                                                                        20



    1    correct, then Mr. Cantwell doesn't particularly have

    2    -- there aren't any categories of discovery that he

    3    couldn't answer about August 12th.            There -- now, as to

    4    August 11th, on the other hand, specifically the night

    5    thereof, and, in fact, the events of all day, that can get

    6    us into some Fifth Amendment problems.

    7               And -- so his primary objection is to making any

    8    statements about August 11th.            I'm not -- I just don't

    9    remember the complaint enough to be able to tell you

   10    whether or not it alleges he did anything on August 11th

   11    that affected the plaintiffs.            I don't think it does.       But

   12    I don't remember it --

   13               THE COURT:      When is his criminal trial set for?

   14               MR. CAMPBELL:       August.

   15               THE COURT:      Okay.

   16               MR. CAMPBELL:       And so that would be our primary

   17    -- our primary concern.

   18               THE COURT:      All right.

   19               MR. CAMPBELL:       So that means -- Ms. Kaplan may

   20    -- if they are saying he didn't do anything that affected

   21    the plaintiffs on August 11th, then we have -- it is not

   22    that big a deal, it doesn't seem to me.             But if she's

   23    saying he did something essentially before August 12th to

   24    do that, then, of course, August 11th would be -- any

   25    statements about events on August 11th would be
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                                                                        21



    1    problematical.

    2               THE COURT:      Okay.

    3               Ms. Kaplan.

    4               MS. KAPLAN:      Yes, Your Honor?

    5               THE COURT:      I think I understand your position

    6    from your brief.       You essentially proceed ahead with

    7    discovery.     And any defendants can raise a Fifth Amendment

    8    concern when they -- you know, if they see fit and make a

    9    particularized objection or statement about that

   10    privilege.     Is there anything -- anything additional that

   11    you would -- that you would add, in particular about the

   12    depositions of Mr. Cantwell and Mr. Fields?              And it may be

   13    that -- just given the schedule of the case, that those

   14    would come sufficiently late in the case so that it

   15    wouldn't be a problem.

   16               MS. KAPLAN:      Yes, Your Honor.       That's exactly

   17    what I was thinking.        Certainly they should proceed with

   18    producing documents and things of that nature, which is

   19    our highest priority right now.

   20               In terms of depositions, we are certainly aware

   21    of the Fifth Amendment issues.           We just heard that

   22    Mr. Cantwell's trial is scheduled for August.               I believe

   23    Mr. Fields' is currently scheduled for November.                And we

   24    certainly can take that into account in terms of

   25    scheduling depositions and try to be as sensitive to that
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                                                                        22



    1    as we possibly can.        But right now I don't think it is a

    2    ripe issue.

    3               THE COURT:      All right.     Well, what I -- I do

    4    intend to address the motions for stay in written orders.

    5    And I'll try and do that -- do that shortly.               Is there

    6    -- is there anything else?

    7               Mr. Peinovich, I know you have a motion to stay

    8    as well.     And I read that and your reply and the

    9    plaintiff's response to it.           Is there anything else that

   10    you would want to say on your motion?

   11               MR. PEINOVICH:       No.    I would reiterate the

   12    arguments that would be in those documents that are

   13    already filed.      I mean, I could do that.          But if you

   14    understand the arguments, then there's kind of no point in

   15    me reiterating them.        So, yeah.

   16               THE COURT:      No need to reiterate what you already

   17    wrote.

   18               All right.      Now, Ms. Kaplan, in the 26(f) report

   19    you noted a need to have a robust ESI protocol.                And, of

   20    course, there's now the motion to show cause for

   21    spoliation and just the general concerns about any

   22    document preservation.

   23               What do you suggest as far as the steps for any

   24    ESI protocol or preservation order or other means to make

   25    sure that all documents, whether electronic or otherwise,
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                                                                        23



    1    are preserved for discovery purposes?

    2               Let's see if there's an agreement on that.

    3               MS. KAPLAN:      No, I don't think there's an

    4    agreement, Your Honor.         And we have been -- tried to be

    5    involved and we conversed with defendants on several

    6    occasions to try to inquire as to what steps, if any, had

    7    been taken to preserve electronic information.               And so far

    8    we haven't really gotten any responses.

    9               I think an order from the Court making it clear

   10    that, obviously, defendants have to preserve all of their

   11    materials and to identify any instances since the filing

   12    of the complaint in which documents weren't preserved

   13    would be extremely helpful.

   14               I'm mindful of what the Court said at the

   15    beginning of the conference.          I don't want to go into too

   16    much detail about spoliation, but we have very, very

   17    serious concerns about this, are thinking about maybe a

   18    request for an independent examiner to come in and do kind

   19    of an audit of their devices to make sure that nothing has

   20    been deleted and, if it has, to try to get it restored.

   21               MR. PEINOVICH:       May I comment, Your Honor?          This

   22    is Michael Peinovich.

   23               THE COURT:      Sure.    Go ahead, Mr. Peinovich.

   24               MR. PEINOVICH:       Yeah, I've confirmed to the

   25    plaintiffs in an email at least twice, but I think three
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                                                                        24



    1    times, that I have not deleted nor will I delete any

    2    information relevant to this case.            I'd be happy to swear

    3    to that in some way as well.          I have confirmed that, as

    4    well as said that I am more than happy to discuss

    5    discovery disputes with them.           They are not -- they don't

    6    really want to talk to me.

    7                THE COURT:     All right.     Well --

    8                MR. SPENCER:     Richard Spencer.       I would second

    9    that.    I have absolutely no intention to delete any

   10    electronic record regarding Charlottesville, being that

   11    information is exculpatory.

   12                THE COURT:     All right.     Well, and I certainly

   13    think that it is incumbent upon everyone to preserve any

   14    potentially relevant evidence.           And I -- in recognizing

   15    some of the concerns that have been raised in this case, I

   16    certainly am entering a preservation order.              And if

   17    there's any ESI protocol, whether it is agreed upon or if

   18    there are separate protocols that the parties want to

   19    submit, I'm happy to consider those as well.               I do take

   20    everyone's obligation to preserve this evidence very

   21    seriously.

   22                MR. PEINOVICH:      May I make one more comment

   23    -- sorry.     Go ahead, Ms. Kaplan.

   24                MS. KAPLAN:     No, no.     Go ahead, Mr. Peinovich.            I

   25    apologize.
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    1               MR. PEINOVICH:       Yes.    I would just like to say

    2    that I know there is an issue with another one of the

    3    defendants in the order with spoliation.              And that's -- I

    4    wanted to just emphasize that I am not involved in that in

    5    any way.     And I don't believe any information relevant to

    6    me or evidence that I might have was, you know, destroyed

    7    in this case.      And I am absolutely preserving everything.

    8    I am not -- I am not involved in that issue with one of

    9    the other defendants.        I just wanted to reiterate that.

   10               THE COURT:      All right.     Thank you, Mr. Peinovich.

   11    And I hear you loud and clear on that.

   12               And, Mr. Spencer, I sense that you are going to

   13    echo that.

   14               MR. SPENCER:      Yes, I -- yes.       This is Richard

   15    Spencer.     I would echo that.        Again, I won't -- I can't

   16    say whether -- the things that were said by Matt Parrott

   17    recently about destroying information, I don't know

   18    whether that is true or not.           But, regardless, there is no

   19    information regarding me that could be destroyed involving

   20    that defendant.       The -- Matthew Heimbach and the

   21    Traditionalist Workers Party, I have never been a member;

   22    I have nothing to do with them; I am not connected with

   23    them.

   24               So I will -- you know, I'm a very reasonable

   25    person.    I understand my obligations as a citizen.              I
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                                                                        26



    1    would not even consider destroying information relevant to

    2    the case.

    3                THE COURT:     All right.     All right.     Thank you.

    4                Ms. Kaplan?

    5                MS. KAPLAN:     Yes, Your Honor.

    6                THE COURT:     Was there something that you were

    7    going to say?

    8                MS. KAPLAN:     Yeah, a couple things.         One, I would

    9    be happy to submit for the Court -- and we could try to

   10    meet and confer -- a proposed order in this respect as

   11    well as an ESI protocol.

   12                In our document request and interrogatories we

   13    have actually asked the defendants to identify what steps

   14    have been taken, what devices they have, et cetera.                 And

   15    hopefully when we get answers to that we'll be in a more

   16    educated position to respond.

   17                There's one other issue, Your Honor, I'm just

   18    previewing that is likely to come up, which is in some of

   19    the third-party subpoenas we are going to need consent

   20    from the defendants, under the Stored Communications Act,

   21    in order for an entity, plus this Court, to produce

   22    documents to us.       And so we may need the Court's

   23    assistance in that as well.

   24                THE COURT:     All right.     Mr. Kolenich and

   25    Mr. Woodard, you know, the concern has been raised about
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                                                                        27



    1    the spoliation in relation to your clients.              I'm not

    2    trying to get into the details of it.             But, you know, I do

    3    think it is important to have something in place to -- you

    4    know, to ensure that spoliation -- or at least take

    5    reasonable steps to ensure that spoliation isn't going to

    6    happen.     Do you-all have any suggestions about ESI

    7    protocol or a preservation order or is that something that

    8    you want to take up with Ms. Kaplan after the hearing?

    9                MR. KOLENICH:      Judge, this is Jim Kolenich.

   10    Yeah, I think we would like to discuss that with

   11    Ms. Kaplan's office.

   12                We did provide them a declaration from

   13    Mr. Parrott affirming that he hasn't destroyed anything

   14    that could be responsive to their discovery requests,

   15    despite his social media posts.           So we would just like to

   16    echo what Mr. Spencer and Mr. Peinovich are saying, that

   17    we haven't destroyed anything.           We understand their

   18    concern, but the information is safe and secure.

   19                But, yeah, we understand that there will be an

   20    ESI protocol that we should agree to.             And we will do

   21    that.     We will negotiate that with Ms. Kaplan's office.

   22                THE COURT:     All right.

   23                MS. KAPLAN:     Your Honor, if I may.        I mean, the

   24    problem that we're having on this -- and, again, I know

   25    Your Honor doesn't want a full argument, and so we can
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                                                                        28



    1    respond later, but the problem we have on day one they say

    2    something publicly, encouraging people or saying that they

    3    destroyed materials, and then on day three they say they

    4    haven't.     That doesn't leave us in a very comfortable

    5    position, as Your Honor can imagine.            That's why we think

    6    some kind of third-party examination may well be necessary

    7    here.

    8                MR. PEINOVICH:      I would like to say something

    9    here.    Michael Peinovich.

   10                THE COURT:     Hold on, Mr. Peinovich.

   11                And, you know, Ms. Kaplan, maybe at some point

   12    that examination will be necessary.            But I think the first

   13    -- the first step is to get the ESI protocol, get a

   14    document preservation order.           And I would like you-all

   15    (inaudible) and do that in pretty short order, really in

   16    the next week, I would think, or two, if that is

   17    manageable.

   18                MS. KAPLAN:     We will absolutely do that, Your

   19    Honor.     Thank you.

   20                THE COURT:     All right.      And, Mr. Campbell and

   21    Mr. Jones, are you agreeable to that?

   22                MR. CAMPBELL:      Your Honor, Dave Campbell.         Are we

   23    agreeable to negotiating an ESI agreement?

   24                THE COURT:     Yes, sir.

   25                MR. CAMPBELL:      Yes, sir.     Of course.     Yes, Your
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                                                                        29



    1    Honor.

    2               MR. JONES:      Yes, Your Honor.       Bryan Jones here.

    3               THE COURT:      All right.

    4               And, Mr. Spencer and Mr. Peinovich, it sounds

    5    like you-all are in spirit and in favor of that as well?

    6               MR. PEINOVICH:       Yes, Your Honor, I'm more than

    7    happy to negotiate something like that with plaintiffs.                     I

    8    would just like to say that I have not ever said that I

    9    deleted anything.       I -- in fact, just the opposite.            The

   10    -- any social media posts of mine actually reaffirms my

   11    statements that I have not deleted anything.               And I have

   12    taken steps to preserve information.            So what --

   13    Ms. Kaplan's previous statement about something said on

   14    day one and then something else said on day two does not,

   15    in my opinion, apply to me.

   16               THE COURT:      All right.

   17               Mr. Spencer, are you agreeable with engaging in

   18    negotiating the ESI protocol?

   19          (Pause.)

   20               THE COURT:      Mr. Spencer, are you still there?

   21          (No response.)

   22               THE COURT:      We may have dropped somebody.

   23               MR. SPENCER:      I'm here.     I'm sorry.      I muted the

   24    phone.

   25               Yes.    I am, of course -- I am, of course, willing
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                                                                        30



    1    to negotiate.      That is perfectly fine.

    2               I would also just like to mention, Roberta

    3    Kaplan, when she said on day one they claim they are

    4    deleting and on day three they claim that they were

    5    preserving the information, that is in direct reference to

    6    another party.      It is in direct reference to Matt Parrott

    7    and the Traditionalist Workers Party.             I have never said

    8    anything approaching that.

    9               THE COURT:      All right.     Ms. Kaplan -- I don't

   10    know that she was directing that at you.              But we can move

   11    -- I think we can move beyond that.

   12               All right.      Ms. Kaplan, are there other things to

   13    discuss as far as discovery or the case schedule at this

   14    point?

   15               MS. KAPLAN:      I think the only issue that I'm

   16    aware of, Your Honor -- and one of my colleagues may kick

   17    me and tell me I'm missing something, but the only thing

   18    that I'm aware of is the motion that we had in connection

   19    with doing the meet-and-confer process with Mr. Peinovich,

   20    precluding him from recording our conversations.

   21               THE COURT:      Right.    And that is something that I

   22    -- that I will -- or I do want to address today, so we can

   23    go ahead and take that up.

   24               It seems that most of the things that you would

   25    want to discuss in the Rule 26(f) conference we have
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                                                                        31



    1    probably covered today; is that correct?

    2                MS. KAPLAN:     I think so, Your Honor.

    3                THE COURT:     All right.     And, Mr. Peinovich, what

    4    is -- do you still have concerns about wanting to

    5    -- wanting to record your conversations with plaintiffs'

    6    counsel?

    7                MR. PEINOVICH:      I am happy to do -- if they are

    8    uncomfortable talking with me on the phone -- I believe

    9    that if we do speak on the phone, I just have a basic

   10    right to preserve conversations with them for use in the

   11    case and future, you know, recordkeeping and reference.

   12    If I agree to something on the phone, I would like to have

   13    sort of an exact recording of what is said.              If they are

   14    not comfortable with that, I am happy to conduct

   15    negotiations over email.

   16                THE COURT:     Well, you may -- it is probably good

   17    practice for anyone, if there is an actual agreement, to

   18    have it in email or a letter or document more

   19    memorializing that agreement.

   20                But, Mr. Peinovich, there is, in every civil

   21    case -- and the Rules of Civil Procedure really require

   22    this -- that the parties and attorneys have to work

   23    together and have to be able to cooperate at least to a

   24    certain degree, to make the case proceed and to do so in a

   25    just way.     And I -- you know, I don't think that recording
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                                                                        32



    1    those conversations, one, is necessary.             In my experience,

    2    I have never seen that there's, you know, some real

    3    fallout from not having a recording of a conversation

    4    between counsel or counsel and an unrepresented party.

    5    But I do think it would be inconsistent with the rules,

    6    because it engenders -- or really encourages people not to

    7    be as cooperative, if they are recording.

    8               So what I would do is ask you not to record your

    9    conversations with plaintiffs' counsel.             And if you feel

   10    like you need to have a record of the discussion, then an

   11    email is certainly sufficient.

   12               MR. PEINOVICH:       Yeah.    I completely understand

   13    that decision.      And I'm happy to comply with that, Your

   14    Honor.

   15               I -- again, I'm a pro se defendant.             I'm kind of

   16    up against a lot of stuff here.           And when I was initially

   17    saying this, I was less seasoned, shall we say, in doing

   18    these matters.      But through dealing with this case and,

   19    you know, learning about the system and stuff, I have

   20    become more familiar and more comfortable with it.                So I

   21    am happy to either not record, if we talk voice, and, in

   22    the alternative, simply conduct negotiations via email.

   23               THE COURT:      Okay.    All right.     Thank you,

   24    Mr. Peinovich.      And I think that addresses that motion.

   25               All right.      Mr. --
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                                                                        33



    1               MS. KAPLAN:      Your Honor?

    2               THE COURT:      Go ahead.

    3               MS. KAPLAN:      One other issue that we had is, you

    4    know, we are very eager to get this case underway.                You

    5    have heard me talk about trying to get documents produced.

    6    As soon as we start getting documents in, we are very

    7    eager to start taking depositions.            Obviously, we won't

    8    take the depositions of the two defendants right now with

    9    criminal issues, but as to the other defendants.

   10               And one thing we would like to ask is we would

   11    like to do the depositions in the courthouse, if that's

   12    okay with Your Honor.

   13               THE COURT:      You know, I suppose that would really

   14    depend on the convenience of all of the parties and if it

   15    is -- if that's the most suitable place for somebody to

   16    -- you know, to travel for a deposition.              It is certainly

   17    something that we can consider.

   18               MS. KAPLAN:      So the parties that may not want to

   19    travel, we are certainly amenable to doing those

   20    depositions in the closest federal courthouse to wherever

   21    they are located.

   22               THE COURT:      All right.

   23               MR. WOODARD:      This is Elmer Woodard.

   24               That might not be a bad idea.           We have -- we have

   25    -- speaking for our guys, we have security concerns which
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                                                                        34



    1    are much, much lessened if we're in the federal

    2    courthouse.      So that might not be a bad idea, Judge.

    3               THE COURT:      All right.     Mr. Campbell, you are

    4    -- Mr. Fields is in -- well, he's in custody at this point

    5    and the deposition certainly would be some ways off.                 But

    6    is that something -- something -- I imagine the deposition

    7    for Mr. Fields would be at the local jail, one way or the

    8    other one, whenever that is going to take place.

    9               MR. CAMPBELL:       That was my thought, although Your

   10    Honor may be able to cause a change to that.               But that was

   11    -- that was kind of my thought.           But, again, Judge, I am

   12    certainly hoping you rule in our favor on the motion to

   13    stay, at least in regard to Mr. Fields, so I don't want to

   14    say something to the contrary.

   15               THE COURT:      Right.    No, I understand.

   16               And, Mr. Jones, what are your thoughts on where

   17    to hold the depositions?

   18          (Pause.)

   19               THE COURT:      Mr. Jones, would you concur in this

   20    request to have the depositions at the courthouse in

   21    Charlottesville or a courthouse in another jurisdiction?

   22               MR. JONES:      Sorry, Your Honor.       Yes, I would

   23    concur in that.

   24               THE COURT:      All right.

   25               MR. CAMPBELL:       And, Your Honor, if I could
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                                                                        35



    1    briefly -- Dave Campbell, again -- that doesn't sound like

    2    a bad idea to me insofar as the Court's ruling and other

    3    individuals.

    4               THE COURT:      Okay.    Let's see, and Mr. Spencer?

    5               MR. SPENCER:      I -- I have no objection.

    6               THE COURT:      All right.     Mr. Peinovich?

    7               MR. PEINOVICH:       Yeah.    I would -- I agree to the

    8    item about the federal courthouse closest to where I'm

    9    located.     I would -- I have a serious security concern

   10    about traveling to Charlottesville.            I have been -- as

   11    well as other defendants, have been subject to physical

   12    attack outside of the Charlottesville courthouse.                In

   13    particular, Defendant Kessler has been attacked several

   14    times in going to and from court appearances.               And I don't

   15    want to be subjected to that.           So I would prefer to be

   16    deposed, if I'm going to be deposed, in a courthouse near

   17    where I live, a federal courthouse, of course.               So I'm

   18    agreeable to that.

   19               MS. KAPLAN:      We understand that, Your Honor.           And

   20    I think Mr. Peinovich is quite close to most of us in New

   21    York, so that shouldn't be a problem.

   22               THE COURT:      All right.     Well, what I -- what I

   23    would ask you-all to do on that is when you get -- get

   24    around to scheduling depositions, you know, of course you

   25    are going to -- if it is out of this district, you would
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                                                                        36



    1    need to check with those courts and make sure that they

    2    can or are willing to accommodate the request to hold the

    3    deposition there.       And once you know about a time to hold

    4    a deposition, then contact the clerk's office at this

    5    -- in this district and we'll see if we can arrange to

    6    have a deposition at the courthouse as well.

    7               You know, I think that there are some

    8    -- certainly some things that are in favor of it, you

    9    know.    I do have some -- there are some security concerns

   10    about having -- there are some security concerns as well.

   11    And certainly we can try and address those here at the

   12    courthouse.

   13               MR. WOODARD:      Your Honor, this is Elmer Woodard.

   14               Some security concerns doesn't really -- it kind

   15    of understates it, Your Honor.           The truth is that the last

   16    thing that I want to do for any of my clients is have any

   17    kind of dissemination of where they are going to be and

   18    when they are going to be there, because I have already

   19    had -- one of my clients already has had a hit squad come

   20    after him because that information got out.              And whether

   21    it is at the Charlottesville courthouse or at the -- you

   22    know, some courthouse in Utah, I don't know.               But we have

   23    serious, serious security concerns, because, remember, we

   24    can't carry firearms between the sidewalk and the door.

   25    And we certainly can't carry them through the door.                 And
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    1    the only thing that kept one of my -- one of our clients

    2    from either getting killed or having the heck beat out of

    3    him was he was carrying a firearm.            And he showed it to

    4    the people who were coming after him and they backed off.

    5               THE COURT:      Mr. Woodard, we don't need to get

    6    into all of that.       But, you know, hearing this, it does

    7    make me wonder if it makes sense for you-all to just agree

    8    to another location that isn't going to draw the attention

    9    that coming to the federal courthouse in Charlottesville

   10    would certainly engender.         And I'll just -- we can

   11    (inaudible) throw that out --

   12               MS. KAPLAN:      Your Honor, I think maybe another

   13    solution that is -- we have been told that the courthouse

   14    would be the safest, but maybe a solution is for all of

   15    the parties to agree that deposition notice, schedule

   16    dates for deposition, persons, and times be kept strictly

   17    confidential.

   18               MR. WOODARD:      That's what I was going to suggest,

   19    Ms. Kaplan.     I think that's -- that was where my concern

   20    is.   The federal courthouse is a pretty safe place.                We

   21    don't have a problem with that.           But there is a security

   22    concern getting to the door.          And I would -- that's what I

   23    was going to ask for is that the time and location of any

   24    depositions has to be kept confidential, because I

   25    -- because, honestly, Judge, we don't want to create a
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    1    situation where we have got to be inside the federal

    2    courthouse at ten o'clock and there's a mob outside, and

    3    we can't get there because of the screaming mob.                So we're

    4    either -- you know, we either -- we either get beat up or

    5    held in contempt by a federal judge.            Neither one is

    6    particularly palatable.

    7               THE COURT:      Well, the depositions, of course, are

    8    a non-public proceeding, so that's something that you-all

    9    can keep your schedule amongst yourselves.              And let the

   10    clerk's office know when you -- you know, when you want to

   11    have those.     And then we'll see if -- we'll see if the

   12    schedules can be accommodated.           But that may be -- that

   13    may be the best way to handle it.

   14               MR. WOODARD:      Okay.

   15               THE COURT:      All right.

   16               Counsel, let me tell you about how I do like to

   17    address discovery disputes.          And I do try to address them

   18    informally and do so quickly.           It does require that

   19    you-all -- the rules require that you-all confer in good

   20    faith to try and resolve any disputes before you bring

   21    them to my attention, though.           And oftentimes that means

   22    that after objections are filed to -- or submitted, if

   23    there are any discovery requests, that you-all at least

   24    pick up the phone, if not meet in person.              And there may

   25    be additional written discussions about the dispute.                 But
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    1    it really does require that you-all try and work it out

    2    and narrow the dispute before you bring it to me.

    3               Now, if you can't resolve it on your own, what I

    4    would ask you to do is to contact Karen Dodson, who is my

    5    scheduling clerk in Harrisonburg.            You can set up a

    6    conference call with me.         You can send Karen, you know, a

    7    short email, really just a paragraph or two letting me

    8    know what the dispute is about.           If it is something that

    9    is a little bit more involved, then you can submit a joint

   10    letter to Karen, really of no more than two pages, just

   11    giving me the gist of the dispute.            If there are any

   12    requests for production of documents or interrogatories

   13    that are at issue, attach those and the objections to the

   14    letter so that I can see the language of the request and

   15    the objection.      We'll have a conference call and then see

   16    if we can resolve it that way.

   17               Sometimes I will rule on the conference call and

   18    an order will come out of it.          And other times we can just

   19    reach an agreement by discussing it on the conference

   20    call.    If it is something that turns out to be more

   21    involved that requires, you know, briefing, then we can

   22    talk about a briefing schedule on that call.

   23               Now, Ms. Kaplan, do you have any questions about

   24    that?

   25               MS. KAPLAN:      Not at all, Your Honor.         Thank you.
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    1               THE COURT:      All right.     And, Mr. Spencer, do you

    2    have any questions about that procedure?

    3               MR. SPENCER:      No.

    4               THE COURT:      All right.     And Mr. Campbell?

    5               MR. CAMPBELL:       No, sir.

    6               THE COURT:      All right.     Mr. Woodard or

    7    Mr. Kolenich?

    8               MR. WOODARD:      We're okay with it.

    9               MR. KOLENICH:       No, sir.

   10               THE COURT:      All right.     And Mr. Jones?

   11          (No response.)

   12               THE COURT:      Mr. Jones, are you there?

   13          (No response.)

   14               THE COURT:      All right.     And Mr. Peinovich?

   15               MR. PEINOVICH:       Yes, Your Honor.       I'm

   16    (inaudible).

   17               THE COURT:      Okay.

   18               All right.

   19               There are a number of motions that are pending.

   20    There are a couple of motions to quash subpoenas.                I don't

   21    want to address those today.          There's Mr. Peinovich

   22    (inaudible) filed motion for sanctions.             And Ms. Kaplan

   23    has responded to that.         And I don't intend to address that

   24    today either.      But I will address those in written orders.

   25    And if I think that I need to have a hearing on any of
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    1    those, I'll contact the parties.

    2               Now, on the motion to stay discovery -- they are

    3    the two -- I just want to ask if anybody has anything else

    4    that they want to say on those motions.

    5               Mr. Peinovich, I think I -- I think you already

    6    indicated that you had said everything that you needed to

    7    on your motion?

    8               MR. PEINOVICH:       Uh-huh.    Yes.    Yes.    That's

    9    correct, Your Honor.

   10               THE COURT:      All right.     And Ms. Kaplan -- well,

   11    let me ask this:       Mr. Campbell, as to Mr. Fields' motion,

   12    is there anything else that you wanted to say on that?

   13               MR. CAMPBELL:       Judge, I would just -- you know,

   14    if it were a typical hearing, I would expect to go and

   15    then have the plaintiff go and then respond, as it being

   16    my motion.     I would just ask that the Court -- in addition

   17    to what is filed in the motion, in addition to the

   18    concerns I raised earlier as to severing and/or to issues

   19    with potential negative coverage ramifications for

   20    Mr. Fields, I would just ask the Court to permit me to

   21    respond if there's anything I feel the need to when

   22    Ms. Kaplan has an opportunity.

   23               THE COURT:      All right.

   24               MR. WOODARD:      This is Elmer Woodard.         Can I add

   25    something, Judge?
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    1               THE COURT:      Yes, for Mr. Cantwell, go ahead.

    2               MR. WOODARD:      Well, for Mr. Cantwell and the rest

    3    of our clients.       I have got -- I have got evidence that

    4    -- from a -- well, I have got credible evidence, let's put

    5    it that way, that -- we -- we joined in on the motion to

    6    stay by Mr. Peinovich because we have got credible

    7    evidence that the purpose of this is -- the purpose of

    8    this whole case is to, quote, bankrupt the defendants and

    9    discover their operations, unquote.

   10               And so we would also ask -- we would join into

   11    the motion to stay because the complaint says the purpose

   12    of this is to get a bunch of money for the injured

   13    plaintiffs.     And so to the extent that the discovery seeks

   14    to discover operations that aren't relevant to what the

   15    complaint seeks, we would join into Mr. Peinovich's motion

   16    to stay and --

   17               THE COURT:      Mr. Woodard, let me cut in on that

   18    because that isn't a proper reason to stay discovery.

   19    That may be an objection in responding to discovery, but

   20    saying that the request isn't relevant is not a grounds to

   21    stay.

   22               MR. WOODARD:      Yes, sir.

   23               THE COURT:      All right.

   24               Ms. Kaplan, is there anything that you would want

   25    to say on either of the motions to stay discovery?
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    1               MS. KAPLAN:      I don't think we need to add

    2    anything right now, Your Honor.           Thank you.

    3               THE COURT:      Okay.    All right, Mr. Campbell,

    4    then -- I know you wanted to respond to Ms. Kaplan's

    5    arguments, so is there anything else that you want to say?

    6               MR. CAMPBELL:       No, not at all, sir.

    7               THE COURT:      All right.     Like I said, I will do a

    8    written -- I'm going to take up those motions and address

    9    them in a written order.

   10               All right.      I think that is essentially

   11    everything that I wanted to cover today.

   12               Ms. Kaplan, is there anything else that you think

   13    we need to (inaudible).

   14               MS. KAPLAN:      Nothing off the top -- nothing else

   15    for today, Your Honor.         Thank you.

   16               THE COURT:      All right.     And I know that you

   17    mentioned earlier that you -- in the order addressing the

   18    motions to stay discovery you would want some sort of a

   19    deadline put in place should I deny those motions for the

   20    defendants to respond to your discovery, which at this

   21    point I understand that their responses are overdue under

   22    the time limits in the rules.

   23               MS. KAPLAN:      Yes, Your Honor -- I'm sorry.           Could

   24    you -- I apologize, Your Honor.           I got distracted.       What

   25    was the last thing you said?
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    1               THE COURT:      That you had asked for a -- for me to

    2    impose a deadline for the defendants to respond to your

    3    written discovery because you have indicated that it is

    4    -- those responses are overdue at this point.

    5               MS. KAPLAN:      Yes, Your Honor.       And what we would

    6    -- what we would propose is something less than the 30

    7    days, as they are already overdo, for the written

    8    responses and objections.         And, obviously, then they can

    9    have a rolling production of the actual documents.                But we

   10    would at least like to get their written responses in

   11    pretty promptly.

   12               THE COURT:      All right.

   13               MR. CAMPBELL:       Your Honor, if I could briefly.

   14    This is David Campbell again.

   15               We did -- I just wanted to point out we did

   16    timely file objections, although not responses, and would

   17    again -- if the Court is inclined to deny the motion to

   18    stay, I would request that the Court in some way

   19    incorporate a reference that it sounded like plaintiffs'

   20    counsel stated today that they agreed to hold off -- to

   21    some -- I mean, they didn't say, "We'll wait until after

   22    the trial," but they did represent to the Court that they

   23    would agree to hold off on the deposition of anyone facing

   24    criminal charges to some extent.

   25               THE COURT:      And, Mr. Campbell, I'll say this.
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    1    You know, I'm certainly leaning towards denying the stay,

    2    but I am receptive, you know, to certain instances or

    3    certain, you know, types of discovery that may be

    4    particularly problematic for Mr. Fields -- or,

    5    Mr. Woodard, for Mr. Cantwell -- to respond to today.                 So

    6    if there are -- I think if there are certain categories or

    7    -- or, like, a deposition that presents a problem, if

    8    that's not something that you are able to work out with

    9    plaintiffs' counsel, then, you know, you can bring that

   10    back to -- back in front of me.

   11                All right.

   12                MR. CAMPBELL:      Thank you, Your Honor.

   13                MR. WOODARD:     Yes, sir.

   14                THE COURT:     All right.

   15                Mr. Woodard or Mr. Kolenich, is there anything

   16    else that you think we need to address today?

   17                MR. KOLENICH:      No, sir.

   18                MR. WOODARD:     I have just got a question, maybe a

   19    dumb one.     So at the end of the -- at the end of the day,

   20    the motions to dismiss are scheduled for, what, May 24th

   21    or something like that?

   22                THE COURT:     That's right.

   23                MR. WOODARD:     That's my understanding.          I'm not

   24    sure if that's correct.         Okay.

   25                And so -- here is the only thing I would like to
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    1    say, is that the scope of discovery is absolutely huge.

    2    And I think it is burdensome on all of the defendants to

    3    have to start ponying all of that stuff up, only to have

    4    -- you know, only to be let out of the case on a motion to

    5    dismiss.     That's -- that's my only -- but it sounds like,

    6    to me, that the motions -- if the motions to stay are

    7    granted, then that's precisely what is going to happen.

    8    Am I wrong on that?

    9               THE COURT:      Well, the -- I mean, Mr. Peinovich's

   10    motion is essentially that, that, you know, there's a

   11    pending motion to dismiss and so discovery shouldn't

   12    proceed.     But if I deny those motions, then discovery is

   13    proceeding.     And, if not, it is not on (inaudible) there's

   14    a motion to stay.       But I will try and address those

   15    motions to stay shortly.

   16               MR. WOODARD:      Okay.    I just wanted to make sure I

   17    was clear.

   18               THE COURT:      All right.

   19               Mr. Kolenich, is there anything else that you

   20    wanted to -- that you think we needed to cover today?

   21               MR. KOLENICH:       No, sir, Your Honor.        The -- you

   22    guys just mentioned a May hearing on that motion to

   23    dismiss.     Is that accurate or is that -- I had it as June

   24    12th.

   25               THE COURT:      No, I have May.
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    1               UNIDENTIFIED VOICE:        (Inaudible.)

    2               THE COURT:      Yeah, the docket in this case says

    3    May 24th, at I think 10:00 a.m., in front of Judge Moon,

    4    for the motions to dismiss.

    5               MR. KOLENICH:       Thank you, Your Honor.

    6               THE COURT:      All right.     Mr. Campbell, is there

    7    anything else that you think we need to address today?

    8               MR. CAMPBELL:       No, sir.

    9               THE COURT:      All right.     Mr. Jones?

   10               MR. JONES:      No, sir.

   11               THE COURT:      And Mr. Spencer?

   12               MR. SPENCER:      No, sir.

   13               THE COURT:      And Mr. Peinovich?

   14               MR. PEINOVICH:       No, Your Honor.

   15               THE COURT:      All right.     Well, I will hold off on

   16    entering a scheduling order until we do get a trial date

   17    scheduled.     And that will be closer to the time of the

   18    hearing on the motion to dismiss.            And -- but we will be

   19    in touch with you-all to schedule a status conference,

   20    perhaps for after that hearing, to just check in on how

   21    the case is proceeding.

   22               All right.      I want to thank everyone for calling

   23    in and for participating productively today in this

   24    hearing.

   25               Thank you very much.         And have a good day.
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    1               UNIDENTIFIED VOICE:        Thank you, Your Honor.

    2               MR. WOODARD:      Thank you, Judge.        Have a good

    3    weekend.

    4               MS. KAPLAN:      Thank you, Your Honor.

    5          (Thereupon, these proceedings were adjourned at

    6    3:10 p.m.)

    7

    8

    9

   10               I certify that the foregoing is a correct

   11    transcript from the record of proceedings in the above-

   12    entitled matter.

   13
                    /s/ Carol Jacobs White                     March 20, 2018
   14                  Court Reporter                              Date

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